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                                                            Our File No.: 114758

                                                                                         UNITED STATES DISTRICT COURT
                                                                                         EASTERN DISTRICT OF NEW YORK



                                                            DARYL HUDSON, INDIVIDUALLY AND ON                           Docket No: 1:18-cv-01461-ILG-PK
                                                            BEHALF OF ALL OTHERS SIMILARLY
                                                            SITUATED,

                                                                                    Plaintiff,
                                                                                                                        MOTION FOR SETTLEMENT
                         100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERS PLLC
                          GARDEN CITY, NEW YORK 11530




                                                                                       vs.

                                                            ALPHA RECOVERY CORP AND JH
                                                            PORTFOLIO DEBT EQUITIES, LLC,

                                                                                   Defendant.


                                                            Now comes the Plaintiff DARYL HUDSON by and through counsel, to provide notice to the Court

                                                            that the present cause has been settled between the parties, and state:

                                                                1. A settlement agreement (“Agreement”) is in the process of being finalized. Once the

                                                                    Agreement is fully executed, and Plaintiff has received the consideration required pursuant to

                                                                    the Agreement, the parties will submit a Stipulation of Voluntary Dismissal with prejudice

                                                                    pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein request that the

                                                                    case be dismissed and closed.

                                                                2. The parties respectfully request that the Court stays this case and adjourns all deadlines and

                                                                    conferences.




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                                                               3. We respectfully request the Court provide that the parties may seek to reopen the matter

                                                                  for forty-five (45) days to assure that the Agreement is executed and that the settlement

                                                                  funds have cleared.

                                                            DATED: April 6, 2018

                                                                                                        Respectfully submitted,

                                                                                                        By: /s David M. Barshay
                                                                                                        David M. Barshay, Esq.
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